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                          THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF PENNSYLVANIA


 UNITED STATES OF AMERICA
                                                         Magistrate No. 22-1108
                v.
                                                         [UNDER SEAL]
 ADAM BIES


                AFFIDAVIT IN SUPPORT OF A CRIMINAL COMPLAINT

       I, Gregg Frankhouser, being duly sworn, hereby depose and state the following:

       I.       INTRODUCTION

       1.       This affidavit is made in support of a criminal complaint charging ADAM BIES

(“BIES”) with Influencing, Impeding or Retaliating against a Federal Law Enforcement Officer,

in violation of Title 18, United States Code, Section 115(a)(1)(B).

       2.       I have served as a Federal Bureau of Investigation (“FBI”) Special Agent since

April 2002. As a Special Agent with the FBI, I am an “investigative or law enforcement officer”

of the United States within the meaning of Title 18, United States Code, Section 2510(7); that is,

an officer of the United States who is empowered by law to conduct investigations of and to make

arrests for offenses enumerated in Title 18, United States Code, Section 2516.

       3.        I am currently assigned to the New Castle Resident Agency in the FBI’s Pittsburgh

Division. In this capacity, I am charged with investigating possible violations of federal criminal

law. By virtue of my FBI employment, I perform and have performed a variety of investigative

tasks, including functioning as a case agent on violent crime investigations. I have received

training and have gained experience in the conduct of federal criminal investigations, the execution

of federal search warrants and seizures and arrest warrants, and the identification and collection of



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computer-related evidence.

       4.       The facts set forth in this affidavit are based on my personal knowledge, the

knowledge obtained during my participation in this investigation, the knowledge obtained from

other individuals, including other law enforcement personnel, review of documents and computer

records related to this investigation, communications with others who have personal knowledge of

the events and circumstances described herein, and information gained through my training and

experience. Because this affidavit is submitted for the limited purpose of establishing probable

cause in support of the criminal complaint, this affidavit does not set forth each and every fact that

I have learned during the course of this investigation.

       II.      STATUTORY VIOLATIONS

       5.       Title 18, United States Code, Section 115(a)(1)(B), criminalizes threats to assault

or murder a federal law enforcement officer with the intent to impede, intimidate, or interfere with

such law enforcement officer while engaged in the performance of official duties, or with intent to

retaliate against such law enforcement officer on account of the performace of official duties.

       6.       FBI agents are agents of the United States authorized by law to engage in or

supervise the prevention, detection, investigation, or prosecution of any violation of Federal

criminal law. Therefore, they are “federal law enforcement officers” for purposes of Title 18,

United States Code, Section 115.

       III.     PROBABLE CAUSE

BIES Threats Directed to FBI and Agents

       7.       The allegations in this criminal complaint pertain to recent threats using electronic

communication services by BIES, who resides in the Western District of Pennsylvania. While

some of the actions described in this affidavit relate to very recent conduct, other actions have



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occurred in the months prior to the investigation of BIES by the FBI. Most of the threats

summarized below were made in the days following the FBI search of former President Donald

Trump’s home in Florida on August 8, 2022.

       8.       On or around August 11, 2022, the FBI National Threat Operations Section (NTOS)

Social Media Exploitation (SMEX) team received a tip from MEMRI Domestic Terrorism Threat

Monitor (DTTM) regarding Gab user “BlankFocus”, who posted threats towards the FBI and law

enforcement stating, “My only goal is to kill more of them before I drop.” MEMRI DTTM

provided additional information that the “BlankFocus” made violent threats against the FBI, “If

You Work For The FBI Then You Deserve To Die”.

       9.       On August 11, 2022, an Emergency Disclosure Request (EDR) was issued to Gab

via their online Kodex Law Enforcement Portal regarding the “BlankFocus” account. On the same

date, a preservation letter for the account was submitted to Gab via email. In response to the EDR,

Gab provided the subscriber information regarding the user’s email address, which was identified

as adam@adamkennethcampbell.com. Furthermore, the following was provided in a chat log

disclosed by Gab, “my email adam@adamkennethcampbell.com – I use a fake name for my

photography and Gab so that corporate Murica’ can’t google me out of a job”. Based on my

background and experience, I believe BIES was using the “Adam Campbell” alias as a means of

thwarting law enforcement as it related to his violent statements. Also provided by Gab were

recent Internet Protocol (IP) logs including 24.144.167.194 on August 10, 2022, at 7:51pm.

       10.      On August 11, 2022, at 9:22pm, an EDR was submitted to Armstrong for the IP

address 24.144.167.194 timestamp: 8/10/22 7:51. At approximately 9:30pm, Armstrong provided

the following subscriber information related to the IP address: Adam Bies, 23 Falls Road, Mercer,

PA, 16137. Open-source databases available to law enforcement confirmed BIES to be associated



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with the 23 Falls Road address. The same database provided information that BIES’ date of birth

was October 6, 1975, which was also confirmed via Pennsylvania Driver’s License information.

       11.     On August 11, 2022, BIES posted the following to his “BlankFocus” Gab account,

“I’ll shoot an SS officer in the head just as quick as I’d shoot a KGB officer in the head. Keep that

in mind. There are plenty of other letters in the alphabet. Police state scum are police state scum.

Period”. Your affiant believes this statement compares United States Government Agencies to

the Nazi SS and KGB.




       12.     In another post made on August 11, 2022, BIES tagged Gab CEO Andrew Torba,

sharing his recent Gab post which states: “Here’s Fox news throwing Gab under the bus because

people . . . had opinions here. The examples they provided where nowhere near ‘threats.’” The

Fox 8 news article reported that FBI Director Christopher Wray and the agency received numerous

threats on the platform. BIES wrote: “Hey asshole. Why don’t you send them my threats so that

they’d at least have something credible to show on Fox News. Just scrub my timeline for the posts

you didn’t delete after you threatened to ban me. I sincerely believe that if you work for the FBI,

then you deserve to DIE.” The Fox News article in question relates to FBI Director Wray

“push[ing] back on threats following unprecedented raid on Trump.” In this statement, BIES

accepts that his statements are threats to law enforcement.




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       13.     In another post, also on August 11, 2022, BIES wrote: “I'm ready for the inevitable.

Once you accept reality for what it is instead of what you want or to be, you can move on with

your life and get prepared for the inevitable outcome. I already know I’m going to die at the hands

of these piece of shit child molesting law enforcement scumbags. My only goal is to kill more of

them before I drop. I will not spend one second of my life in their custody.” Based on my training

and experience, an individual that makes statements accepting the end of life is a danger to himself

and society. Based on the post described herein, I believe BIES is making his intentions known

that he is willing to commit violence towards law enforcement in support of his beliefs, even if

that costs him his own life.




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       14.    In another post from August 11, 2022, BIES wrote: “It’s perfectly OK for the

government to constantly tell you that they intend to murder you, but when we decide we’ve had

enough and tell them we are going to slaughter THEM, you get banned from Gab. @a [Andrew

Torba] go ahead and ban me you fucking asshole.” BIES added that Gab has issued him a warning:

“@a just gave me an account warning today for saying that a bunch of child molesting f**gots at

the FBI should be put down.”




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       15.     On August 10, 2022, BIES wrote: “Every single piece of shit who works for the

FBI in any capacity, from the director down to the janitor who cleans their fucking toilets deserves

to die. You’ve declared war on us and now it's open season on YOU.”




       16.     In another post on August 10, 2022, BIES wrote: “HEY FEDS. We the people

cannot WAIT to water the trees of liberty with your blood. I’ll be waiting for you to kick down

my door.”



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       17.     On August 12, 2022, at approximately 5:00pm, BIES posted the following to his

account:




       IV.     CONCLUSION

       18.     Based on the aforementioned information, I respectfully submit that there is

probable cause to believe that ADAM BIES’s threats of violence against the FBI violated Title 18,

United States Code, § 115(a)(1)(B), which criminalizes threats to assault or murder a federal law

enforcement officer with the intent to impede, intimidate, or interfere with such law enforcement

officer while engaged in the performance of official duties, or with intent to retaliate against such

law enforcement officer on account of the performace of official duties.




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          The above information is true and correct to the best of my knowledge, information and

belief.



                                             /s/Gregg Frankhouser
                                             Special Agent
                                             Federal Bureau of Investigation



The Affiant attested to this Affidavit
By telephone pursuant to FRCP 4.1(b)(2)(A)
12th day of August, 2022.



_________________________________
HONORABLE MAUREEN P. KELLY
United States Magistrate Judge




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